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                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF CALIFORNIA
                       SAN FRANCISCO DIVISION

                                         Case No. 3:25-CV-02847-AMO
COMMUNITY LEGAL SERVICES IN EAST         [PROPOSED] PRELIMINARY
PALO ALTO, et al.,                       INJUNCTION
              Plaintiffs,

     v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.




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       AND NOW, this ___ day of __________, 2025, upon consideration of Plaintiffs’ Motion

for Preliminary Injunction, the memorandum and evidence in support thereof, Defendants’

response thereto, and Plaintiff’s reply, it is HEREBY ORDERED that Plaintiffs’ Motion is

GRANTED as follows:

       Defendants are ENJOINED from withdrawing the services or funds provided by the
       Office of Refugee Resettlement (“ORR”) as of March 20, 2025, under the Trafficking
       Victims Protection Reauthorization Act of 2008 (“TVPRA”), 8 U.S.C. § 1232(c)(5), and
       ORR’s Foundational Rule, 45 C.F.R. § 410.1309(a)(4), particularly ORR’s provision of
       funds for direct legal representation services to unaccompanied children. This injunction
       precludes cutting off access to congressionally appropriated funding for its duration.

This injunction takes effect immediately, replacing the Court’s April 1, 2025 temporary restraining

order (Dkt. 33), and will remain in place until a final judgment on Plaintiffs’ claims. Defendants

will provide a status update to the court 3 business days from this order to report on compliance

with the injunction. Non-compliance or delayed compliance may result in a contempt finding and

sanctions.




                                                    __________________________________
                                                    UNITED STATES DISTRICT JUDGE




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